        Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant, Marisa Budwick, is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the FBI’s Denver, Colorado Division working from an office in Boulder,
Colorado. In my duties as a special agent, I investigate domestic terrorism, and other national
security violations, among other things. Currently, I am a tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent with the FBI, I
am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
         Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 2 of 6




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 21, 2021, the FBI received an anonymous tip that LOGAN GROVER,
a Colorado resident, posted on Facebook that he flew to Washington, D.C. and planned to
participate in the protest at the Capitol on January 6, 2021. The tip included a screenshot of the
Facebook post, which shows a picture of the Washington Monument in Washington, D.C. The
screenshot is provided below:
        Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 3 of 6




    The FBI also received a tip from a second individual who knew LOGAN GROVER that
GROVER had posted the same Facebook message.

       The FBI then interviewed a witness familiar with LOGAN GROVER who told the FBI that
GROVER had departed his Erie, Colorado home at approximately 5 am on January 4, 2021 and
returned the evening of January 7, 2021.

        On February 16, 2021, FBI agents, including your affiant, attempted to interview LOGAN
GROVER at his Erie, Colorado residence. GROVER answered the door and confirmed his
identity, but declined to speak with the FBI. From this interaction, I was able to observe GROVER
and positively identified him as the same individual seen in the videos and photos described in this
affidavit.

        The FBI also discovered numerous videos of the defendant, LOGAN GROVER, both on
Capitol Grounds and in the Capitol Building on January 6, 2021. I can tell these videos were taken
at the Capitol on January 6, 2021 based on my knowledge of the exterior and interior views of the
Capitol Building and based on the words and actions of the protestors in the video. For example,
two separate videos taken of participants outside of the doors of the Capitol on January 6, 2021
show GROVER standing next to the doors of the Capitol Building. In these videos, GROVER has
a short haircut and a beard, and he is wearing a large dark coat and green gloves. A still shot of
GROVER from one video that was lawfully obtained by the FBI from another protestor’s phone
is seen below:
        Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 4 of 6




         The FBI obtained a second video showing LOGAN GROVER outside of the Capitol
Building on January 6, 2021 from another tipster who downloaded it from a social media site. In
a still shot from this video, shown below, GROVER, lower left, can be seen looking at law
enforcement officers standing behind the broken glass in one of the doors to the Capitol Building
as another protestor points at them.




         Images of LOGAN GROVER inside the Capitol Building on January 6, 2021 were
captured on a third video provided by a tipster who downloaded it from social media site Parler.
A still shot from this video, on which I have circled GROVER in purple, is seen below. The Capitol
Rotunda can be seen through the doorway on the right of this shot.




       Body worn camera (“BWC”) footage from law enforcement officers responding to the riots
on January 6, 2021 also captured video of LOGAN GROVER inside the Capitol Building. For
        Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 5 of 6




example, a still shot of one BWC video time-stamped 3:27 pm, below, shows GROVER, on the
left side, looking at his cellphone as officers are removing protestors from the Capitol Building.




       A still shot from a second BWC, below, also time-stamped approximately 3:27pm
January 6, 2021, shows LOGAN GROVER in the far left.




    Based on the foregoing, your affiant submits that there is probable cause to believe that
LOGAN GROVER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
        Case 1:21-mj-00399-RMM Document 1-1 Filed 04/26/21 Page 6 of 6




knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that LOGAN GROVER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     MARISA BUDWICK
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of April 2021.


                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
